                                                   Case 22-90323 Document 26-3
                                                                          16-1 Filed in TXSB on 10/18/22
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Income Statement - Property Comparison
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Account Name                              1423 Kipling               1717 Norfolk                2008 Colquitt               MMM               3412 Graustark            3414 Graustark            400 Westmoreland        4321 Mt Vernon            MMM2
Units                                     8                          20                          8                           64                8                         8                         16                      16                        67
Operating Income & Expense
  Income
     INCOME
       RENTAL INCOME
         Rental Income                                   10,755.00                   9,330.00                    13,937.00         65,970.00               12,100.00                  9,791.94                16,940.00                19,830.00            51,373.00
         Utility Reimbursement                              439.00                     471.62                       488.50          2,575.00                  464.00                    354.00                   729.00                   917.39             1,677.00
  Total Operating Income                                 11,194.00                   9,801.62                    14,425.50         68,545.00               12,564.00                 10,145.94                17,669.00                20,747.39            53,050.00

     EXPENSES
       Repairs & Maintenance
         Materials/Supplies                                100.00                      100.00                      100.00             100.00                    100.00                    100.00                 100.00                     100.00
         Plumbing Service Calls                              0.00                        0.00                        0.00             465.00                      0.00                      0.00                 950.00                       0.00           1,200.00
         Building Repair                                     0.00                        0.00                        0.00               0.00                      0.00                      0.00                   0.00                     309.00
         Pool Maintenance                                    0.00                        0.00                        0.00             438.42                      0.00                      0.00                   0.00                       0.00            454.66
         Landscaping                                       140.00                      300.00                      140.00             620.00                     80.00                     80.00                 160.00                     160.00            920.00
         Pest Control                                      140.73                      140.73                      140.73             573.73                    140.73                    140.73                 140.73                     140.73            622.19
         Make Ready                                          0.00                        0.00                        0.00             340.00                      0.00                    250.00                   0.00                       0.00
       Total Repairs & Maintenance                         380.73                      540.73                      380.73           2,537.15                    320.73                    570.73               1,350.73                     709.73           3,196.85
       Operating Expenses
         Water                                              214.07                   2,408.40                       186.00          2,329.24                  217.80                    217.80                   355.00                   380.83             1,971.00
         Electricity                                         80.41                   1,807.15                       111.84          2,077.06                  207.44                    267.82                   254.93                   187.47             2,189.94
         Gas                                                100.51                     164.94                       179.30            546.78                   93.24                     97.41                   379.51                   148.28               785.72
         Trash Disposal                                     146.18                     112.91                       146.18            712.95                  145.98                    145.98                   164.69                   247.82               457.29
         Appliance Rental/Fees                               95.35                     470.88                         0.00              0.00                  578.06                    578.06                 1,127.57                     0.00                 0.00
         Advertising                                         49.41                      49.41                        49.41            148.23                   49.41                     49.41                    49.41                    49.41               197.64
         Leasing Software/Licenses/Fees                     174.14                     174.14                       174.14            522.42                  174.14                    174.14                   174.14                   174.14               696.56
         Management Fees                                    537.75                     466.50                       696.85          3,298.50                  605.00                    489.60                   847.00                   991.50             2,568.65
         Maintenance Fees                                   352.00                     880.00                       352.00          2,816.00                  352.00                    352.00                   704.00                   704.00             2,948.00
         Payroll                                          1,536.00                   3,840.00                     1,536.00         12,288.00                1,536.00                  1,536.00                 3,072.00                 3,072.00            12,864.00
         Property Taxes                                     891.87                       0.00                     1,211.41              0.00                    0.00                      0.00                     0.00                     0.00                 0.00
         Legal Fees                                        2500.00                    2500.00                      2500.00           5000.00                 2500.00                   2500.00                  2500.00                  2500.00              5000.00
         Office Expenses/Misc                             1,000.00                   1,000.00                     1,000.00          3,000.00                1,000.00                  1,000.00                 1,000.00                 1,000.00             4,000.00
         Accounting                                       1,500.00                   1,500.00                     1,500.00          1,500.00                1,500.00                  1,500.00                 1,500.00                 1,500.00             1,500.00
         interest Expense- DLP                            2,500.00                   2,500.00                     2,500.00          5,000.00                2,500.00                  2,500.00                 2,500.00                 2,500.00             5,000.00
           Insurance Down Payment                         1,428.00                   1,428.00                     1,428.00          4,284.00                1,428.00                  1,428.00                 1,428.00                 1,428.00             5,714.00
         Insurance- monthly charges                         573.56                   1,542.51                     $765.38           3,285.29                  481.37                    481.37                 1,274.58                 1,026.04             4,736.65
       Total Operating Expenses                          13,679.25                  20,844.84                    14,336.51         46,808.47               13,368.44                 13,317.59                17,330.83                15,909.49            50,629.45
     Total EXPENSES                                      14,059.98                  21,385.57                    14,717.24         49,345.62               13,689.17                 13,888.32                18,681.56                16,619.22            53,826.30


  Total Income                                           11,194.00                   9,801.62                    14,425.50         68,545.00               12,564.00                 10,145.94                17,669.00                20,747.39            53,050.00
  Total Expense                                          14,059.98                  21,385.57                    14,717.24         49,345.62               13,689.17                 13,888.32                18,681.56                16,619.22            53,826.30

  Net Operating Income                                   -2,865.98                  -11,583.95                     -291.74         19,199.38               -1,125.17                 -3,742.38                 -1,012.56                4,128.17              -776.30




                                                                                                                                                                                                                                                     Exhibit 3
